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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   CARMINA R. COMPARELLI, an individual
   and JULIO C. DELGADO COMPARELLI, an
   individual.

                                         Plaintiffs,             Case No..: 1-14-CV-24414-KMW

                         -against-

   REPÚBLICA BOLIVARIANA DE VENEZUELA,
   a sovereign nation, PETROQUÍMICA DE
   VENEZUELA, S.A., an agency or instrumentality
   of the Bolivarian Republic of Venezuela, and
   INTERNATIONAL PETROCHEMICAL SALES,
   LTD., a British Virgin Islands corporation.

                           Defendants.
   ______________________________________________/

          PLAINTIFFS’ CARMINA COMPARELLI AND JULIO DELGADO AND
    DEFENDNATS’ PETROQUEMICA DE VENEZUELA, S.A., AND INTERNATIONAL
     PETROCHEMICAL SALES, LTD. JOINT MOTION FOR STATUS CONFERENCE

          Plaintiffs, Carmina R. Comparelli (“Carmina”) and Julio C. Delgado Comparelli (“Julio”)

   (collectively, “Plaintiffs”), and Defendants, Petroquímica de Venezuela S.A. (“Pequiven”) and

   International Petrochemical Sales Ltd.’s (“IPSL”) (collectively, “Defendants”), file this joint

   motion for status conference. In support thereof, Plaintiffs and Defendants state as follows:

                                     FACTUAL BACKGROUND

          1.      On January 24, 2019, the Court entered a Scheduling Order for jurisdictional

   discovery [ECF No. 121].

          2.      On February 27, 2019, Pequiven and IPSL filed a Motion to Stay Due to Current

   Events in Venezuela (the “Motion to Stay”) [ECF No. 123].
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           3.     On March 1, 2019, Pequiven and IPSL filed a Motion for a 120-Day Enlargement

   of Time to Respond to Discovery Requests (the “Motion for Enlargement of Time”) [ECF No.

   124].

           4.     On March 8, 2019, Repulica Bolivariana de Venezuela (“Venezuela”) filed a

   Motion for Extension of Time to Serve its Written Responses to Plaintiffs’ First Set of Discovery

   Requests [ECF No. 125] (“Venezuela’s Motion for Extension of Time”).

           5.     On March 19, 2019, Venezuela filed a Motion for Substitution of Counsel [ECF

   No. 134] (“Motion for Substitution of Counsel”) wherein Arnold & Porter Kaye Scholer LLP

   (“Arnold & Porter”), seeks to substitute GST LLP (“GST”) as counsel for Venezuela.

           6.     On March 22, 2019, Arnold & Porter, on behalf of Venezuela, filed an Urgent

   Motion for Stay [ECF No. 139] (“Venezuela’s Urgent Motion for Stay”). In Venezuela’s Urgent

   Motion to Stay, Arnold & Porter argues that a stay is required until the Motion for Substitution of

   Counsel is decided because GST insists on representing Venezuela contrary to United States law.

                                            ARGUMENT

           Plaintiffs and Defendants, IPSL and Pequiven, respectfully request a status conference to

   shed light and clarity on the various issues pending before the Court. The recent filings in this

   case have caused a great deal of confusion as to how the parties should proceed with the current

   deadlines in the Scheduling Order. There are various motions to stay the proceedings that have

   not been adjudicated. Jurisdictional discovery deadlines have not been complied with. There are

   competing counsels seeking to represent Venezuela. Such issues present various unanswered

   questions, including: (a) if, as Arnold & Porter argues, GST has been representing Venezuela

   without authorization since the United States recognized Guaido as the Interim President of




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   Venezuela, then are all filings by GST on behalf of Venezuela since that date deemed void; (b)

   how is the Scheduling Order affected; (c) should the Scheduling Order be amended.

          WHEREFORE, for the reasons set forth above, Plaintiffs and Defendants, IPSL and

   Pequiven, respectfully request this Court enter an Oder: (i) granting this Motion; (ii) ordering a

   status conference; and (iii) granting any further relief the Court deems just and proper.

   Dated: March 28, 2019.                        Respectfully submitted,

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             CERTIFICATE OF COMPLIANCE OF GOOD FAITH CONFERRAL

          Pursuant to Local Rule 7.1(a)(3), counsel for plaintiffs Carmina R. Comparelli and Julio

   C. Delgado Comparelli, Rodrigo S. Da Silva, certifies that he conferred with Quinn Smith, Esq.

   counsel for Bolivarian Republic of Venezuela, on March 18, 2019, who represented that his client

   opposes the relief sought herein. Counsel for plaintiffs also conferred with Arnold & Porter,

   counsel seeking to substitute GST, LLP, as counsel for Venezuela, on March 27, 2019, who

   represented that it does not oppose the relief sought herein, and in fact, supports such relief.

                                                         /s/ Rodrigo S. Da Silva
                                                         Rodrigo S. Da Silva, Esq.

                                   CERTIFICATION OF SERVICE

          I hereby certify that on March 28, 2019, I filed the foregoing document with the Clerk of

   the Court using CM/ECF. I also certify that the foregoing document is being served this day on

   all counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                      /s/ Rodrigo S. Da Silva
                                                      Rodrigo S. Da Silva, Esq.




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